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                          EXHIBIT F.3
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Gross Reservoir Expansion Project

MEETING AGENDA & MINUTES

 Meeting Title:     Boulder County and Denver      Date/Time:          01/27/2021 2 p.m.
                    Water Traffic/Infrastructure
                    Coordination Meeting
 Prepared By:       M. Brasfield, A. Denault       Location:           Online - Teams

 Reviewed By:       Denver Water, CDOT, Boulder    Project #/File #:   Docket SI-20-0003 1041
                    County                                             Permit Application for GRE
                                                                       Project

Meeting Summary:
Colorado Department of Transportation (CDOT) and Boulder County Planning and Permitting staff met
with Denver Water, Stantec and Black & Veatch staff to discuss traffic infrastructure planning and
permitting for the Gross Reservoir Expansion (GRE) Project and to address comments raised in Denver
Water’s 1041 permit application to the County for the GRE Project. The meeting covered roadways,
design packages, property-related matters, the traffic management plan, utility relocations, quarry
development permitting, grading permitting, and Denver Water’s anticipated project schedule.

                                     Team Members in Attendance
                   Travis Bray – Denver Water           Mike Thomas – Boulder County
                  Ashley Denault – Denver Water         Conrad Lattes – Boulder County
                    Doug Raitt – Denver Water            Amelia Willits – Boulder County
                Melissa Brasfield – Denver Water          Bob Kiepe – Boulder County
                     Chris Pacheco - Stantec             Erica Rogers – Boulder County
                  Jarrod Smith – Black & Veatch                Rick Solomon – CDOT

Action Items:
    • CDOT (Rick Solomon Kevin Brown) will identify what is available and share design information
        from the recently completed drainage project in the area of the intersection improvements.
    • Denver Water will convey to Denver Water’s property team the County’s note that they would like
        easements conveyed to the County as permanent easements..
    • Denver Water will send the PowerPoint and notes to meeting attendees.
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Notes:

Roadways in the Vicinity
   • Doug noted construction access is mostly on the east side, Gross Dam Road and SH 72.
      Currently, trucks are using Crescent Park Drive because of the geometry of the Gross Dam
      Road/SH 72 intersection.

Work Packages
   • Design packages were presented. Doug noted Denver Water is interested in working with the
      County and would like to understand where the building department would like to be involved.
   • Mike asked whether there were plans to do any work on Crescent Park Drive. Doug noted there
      are no current plans. Denver Water may add a stop sign at the t-intersection.

Regulatory Agencies and Departments
   • Doug provided an overview of the number of regulatory agencies and departments that touch this
       project.
   • Reports will be tailored to specific questions/interests/scopes of each of the requesting agencies.

Traffic Management Plan Development and Agency Input Approach
    • Doug discussed the current challenges with the Gross Dam Road/SH 72 intersection. Vehicles
        with a long wheelbase have difficulty making the turn onto Gross Dam Road because of the
        current geometry of the road. The proposed intersection will allow for improved sightlines and will
        improve safety.
    • Ultimately, the property easements Denver Water acquires for Gross Dam Road will be turned
        over to Boulder County.
    • Doug also noted that the elevation of intersection is dropping 8-9’ lower, which requires utility
        relocation.
    • Because of critical path timelines, Denver Water asked if it would be possible to advance design
        of the intersection during the 1041 permitting process.
    • Rick asked whether the FIR on the intersection was shared in October or if it was internal.
             o Doug responded there was no endorsed access permit, so it was not official with CDOT
                 to review the FIR. Boulder County and Denver Water will need to come to an agreement
                 to either endorse the permit or allow Denver Water to act as an agent, as CDOT will not
                 review until access permit issues are resolved.
    • Rick noted what was shown on screen at the meeting is generally the correct configuration CDOT
        would endorse but recommend Denver Water continue the paving through the United Power
        access road to the mailboxes at the end of Gross Dam Road.
             o Doug noted that Denver Water has talked with United Power about this and paving to
                 their property.
             o Denver Water can address this in the FOR or in the current plan sets.
    • Rick pointed out CDOT will not want dirt tracked onto the highway, and the sooner pavement gets
        set down the better.
             o Doug said sweeping operations will be part of the Traffic Management Plan and that
                 street sweeping is a Boulder County requirement. Denver Water would expect to have a
                 street sweeper on the contractor traffic control team doing at least daily patrols and
                 sweeping.
    • Doug noted the path to approval of roadway design plans is currently tied to the 1041 permit
        process, that Denver Water would like these improvements to be the first order of business.
    • Chris said Denver Water/Stantec is hoping CDOT can share some of the design information from
        the recently completed drainage project in that area.
             o Rick noted this is a Kevin Brown question. Not sure about the hydraulic report. CDOT can
                 share what they have available; Rick will work with Doug to see what is available.
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Property – Gross Dam Road
   • Doug provided an overview of property requirements at the intersection and along Gross Dam
       Road, noted Denver Water is having conversations with impacted property owners. Gross Dam
       Road is currently located in a permanent easement on individual parcels.
   • Mike noted that work north of the railroad tracks falls into a grading permit and commented that it
       would be important that Boulder County obtain permanent easements as perpetual temporary
       easements won’t work. Mike also noted the County prefers fee rights of way, but easements
       would work as well.

Traffic Management Approach
    • Denver Water will develop a Traffic Management Plan to be reviewed by all jurisdictions who
        have an interest before it is finalized and will use each agency’s required/preferred template.
        However, the Traffic Management Plan requires dam design at a certain point to allow refinement
        of required material quantities, as well as a more precise schedule of work. Currently, we are
        planning for 90% design release in March.
    • Rick asked if the SH 72 and SH 93 staging area will be designed by a contractor different than
        Stantec.
             o Doug responded that is correct and that there is not currently an agreement in place but it
                 is being developed.
    • Rick also asked if the timing of this would be different than the intersection.
             o Doug noted Denver Water would like to have improvements completed by the end of
                 2022.

Traffic Control Plan
    • Doug provided an overview of the Traffic Control Plan and commented on Denver Water
        coordination across agencies and commitment to keeping lines of communications open for traffic
        control, incident management, and enforcement.
    • Mike note Bob Kieper and his supervisor will want to be a part of that discussion.
    • Doug also noted Denver Water is planning for maintenance during construction and will want to
        get more details from the County on the expectations.

Utility Relations
     • Doug highlighted needed utility relocations (CenturyLink, Xcel, United Power) and that Denver
         Water will coordinate with these parties. The relocations will be a phased approach.
     • Mike asked if Stantec is putting together a subsurface engineering plan.
             o Chris noted they are.

Quarry
   • Doug discussed the on-site quarry, which will be the source of aggregate for concrete produced
       onsite. There will be about 850,000 cu yd of concrete in dam and about 750,000 cu yd production
       rock.
   • Denver Water is under the impression this will likely be a subset permit process in the larger
       grading permit but aren’t sure how to navigate that.
           o Mike noted Summer Frederick (Boulder County Planning Department) would be the best
                person to ask and would likely be happy to discuss, although she may prefer to discuss
                after 1041 permit application responses are submitted.

Roadway and Grading Permits
   • Doug noted there were a lot of comments and observations in the 1041 comments from referral
      agencies on this topic and acknowledged there was a lot of older data in the 60% report. He also
      noted 2020 traffic patterns were very different. Doug has asked Chris to update the Traffic Impact
      Analysis.
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   •   Chris discussed his approach which will include using anecdotal data from Denver Water
       caretakers and recreation staff to inform the next phase. Stantec is looking at getting traffic
       counters in the spring. The goal is to finish before the FIR processes are in place. Chris also
       noted they are incorporating feedback from Boulder County or CDOT on the plan development.
   •   Doug commented that the Traffic Management Plan also has elements that tie to the Recreation
       Management Plan.
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Gross Reservoir
Expansion Project –
Traffic and
Infrastructure
Jan. 27, 2021
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Safety Moment – PPE Required When Visiting Construction Sites
Personal Protective Equipment – per OSHA
When engineering, work practice, and administrative
controls are not feasible or do not provide sufficient
protection, employers must provide personal protective
equipment to their workers and ensure its proper use.
Employers are also required to train each worker required
to use personal protective equipment to know:
• When it is necessary
• What kind is necessary
• How to properly put it on, adjust, wear and take it off
• The limitations of the equipment
• Proper care, maintenance, useful life, and disposal of
  the equipment
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Purpose of Meeting

Help Denver Water Respond to 1041 Permit Application Comments
What is important to you?
What we have heard
• Traffic and disruption during construction concerns
• Environmental impact concerns
Let us know if you have a question
• Drop them in the chat
• Use the “Raise Hand” function
We will go topic by topic with time for discussion between each
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Agenda

Subject - Traffic and Infrastructure
• Public roads in Gross Reservoir Expansion area of influence
• Design packages and areas included in respective packages
• Identification of regulatory agencies and areas of interest
• Property related matters
• Traffic Management Plan development and agency input approach
• Utility relocations
• Quarry development permitting
• Grading permit application scope and process
• Schedule
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Scope of Gross Reservoir Expansion

• Initial phase completed in 1954
• Designed with expansion in mind
• Increase storage by 72,000 AF
• Raise height 131 feet
• Doubling surface area
• 1,940-foot-long crest at completion
• 7,406 spillway elevation at completion
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 Highways and Roadways in Gross Reservoir Vicinity

State Highways
• State Highway 72 Coal
  Creek Canyon Drive
• State Highway 93
• State Highway 119
Boulder County
• CR 77S – Gross Dam Road
• CR 77 – Flagstaff Road
• CR 97
• CR 97E Lazy Z Road
• CR 132 Magnolia Dr
Jefferson County
• Crescent Park Drive
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Design Packages and Publication Dates

• WP 2A Gross Dam Road – 90% Q1 2021
• WP 2B Miramonte Access Trail – 90% Q1 2021
• WP 2C On Site Roadways, Haul Roads, Pads and
  Quarry – 60% Q1 2021
• WP 3 Dam – 90% Q1 2021
• WP 4 SH72 and Gross Dam Road - FIR Q4 2020
• WP 5 – Reservoir Tree Clearing - 60% Q1 2022
• WP 6 – Permanent Recreation – 60% Q1 2022
• WP 7 – SH 72/93 Staging Area – 60% Q2 2021
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Regulatory Agencies and Departments
U.S Army Corps of Engineers (Corps)
Federal Energy Regulatory Commission (FERC)
State Engineers Office (SEO)
Boulder County
•   Community Planning and Permitting
•   Public Works
•   Building Safety and Inspection Services
CDOT
•   Region 1
•   Region 4
US Forest Service
CDPHE
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Federal Energy Regulatory Commission Order 2035-099
FERC Order issued July 16, 2020
Major Plans Required by the FERC in 2021:
•   Tree Removal Plan
•   Aquatic Invasive Species/Noxious Weed Plan
•   Recreation Management and Monitoring Plan
•   Traffic Management Plan
•   Quarry Development and Reclamation Plan
•   Archaeological Plan and Historic American Engineering Record
    (HAER) documentation
Plan submission to the FERC required by July 16,
2021 with jurisdiction comments and responses
Construction start required by July 16, 2022
Dam Completion required by July 16, 2027
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  Boulder County 1041 Permit

                                                                                                                       (Expected)
       Boulder                                         (Expected)                                (Expected)            County
       County       Boulder      Boulder               Boulder County                            Planning              Commissioner
       referral     County       County                received                                  Commissioner          Hearing
       sent –       referral     referral              Denver Water                              Hearing
       deadline     extension    extension             responses
       of Oct. 14   to Nov. 13   to Dec. 17

  Sept.    Oct.       Nov.       Dec.       Jan.       Feb.       March        April       May        June      July     Aug.



Denver Water                 Denver Water     Denver Water
submitted 1041               received         requests
Application to               comments         extension
Boulder County               and begins       until Feb. 19
                             analysis
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Discussion

Before we move onto the next topics
• Public roads in Gross Reservoir Expansion area of influence
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SH 72 and Gross Dam Road Intersection
• Current SH 72 and Gross Dam Road
  Intersection has substandard geometry
• Drainage improvement by CDOT Dec 2020
• Long wheelbase vehicles (trucks) have
  difficulty making W/B SH 72 to E/B Gross                                                New Culvert at Gross Dam Road
  Dam Road Movement




       Truck Route to Gross Dam via Crescent Park Dr                                      W/B Existing In (WB 50) 10 mph
                      (Current conditions)                                                         (Current conditions)
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SH 72 and Gross Dam Road Intersection

New Intersection Geometry Proposed
for Improved Safety
• Improved sight lines
• Improved turn radius allows safe
  truck movements on/off SH 72
• CDOT Access Permit endorsed by
  Boulder County required
• Property acquisition and easements
  required
• Planned for early construction in
  2022
                                                        New Intersection Alignment SH 72 and Gross Dam Road
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Property – Gross Dam Road

Property requirements
• Boulder County has a permanent easement for Gross
  Dam Road (GDR) on parcels between SH 72 and the
  UPRR Track
• Many sections are substandard for 2-way truck traffic
• Denver Water requires additional temporary easements
  for proposed widenings of GDR
• Roadway widening geometry concurrence with Boulder
  County required before easement acquisition
• Easement process can take 9 months
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Traffic Management Approach

Denver Water will develop a Traffic Management Plan for the Gross Reservoir
Expansion Project for review by Boulder County, Jefferson County, CDOT, the
FERC, the SEO and any other agencies that have an interest in the subject.
The Traffic Management Plan incorporates inputs from the design and cost
estimating process that identifies the necessary resources; labor, equipment and
materials necessary to complete the work.
The project schedule that is developed concurrently identifies time frames when
resources are utilized and their corresponding transport is required.
The Traffic Management Plan will generally follow the Boulder County template
for the approach to minimize disruption to affected stakeholders.
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Traffic Management Examples

SH 72 and SH 93 Staging Area
• Develop a parking and truck
  staging area on Denver Water
  property
• Use for employee ride sharing
  to site
• Utilize for busing employees
  during dam construction
• Stage material deliveries for
  synchronized delivery
• Avoid school bus time windows
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Traffic Control Plan Elements
Work Zones
• SH 72 – CDOT Access Permit with conditions
• Gross Dam Road – Boulder County Roadway Construction Permit with conditions
   • Boulder County maintained section
   • Denver Water maintained section
• Temporary Traffic Control/Devices – Provided and maintained per approved MHT
• Traffic Control provided by contractor – point of contact and communications
  tree to be developed
• Coordination to be provided with CDOT and Boulder County Operations
• Corridor/Network Management Strategies - Use of Website for Updates Planned
• Work Zone Safety Management Strategies – Variable Message Signing Employed
• Traffic/Incident Management and Enforcement Strategies
• Public Information and Outreach
• Public Awareness Strategies
• Motorist Information Strategies
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Utility Relocations

• CenturyLink relocation at
  Gross Dam Road and SH 72
• Xcel Gas Line relocation at
  Gross Dam Road and SH 72
• United Power power line pole
  relocation on Gross Dam
  Road
• Various CenturyLink
  communication line lowerings
  required on Gross Dam Road                           CenturyLink Relocation at SH 72 and Gross Dam Road
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Quarry Permitting

Aggregate quarry for on-site batched concrete
• Located on Denver Water property
• Located at Osprey Point boat ramp
• Development and reclamation plan to be
  published May 2021
• US Forest Service review to be provided
• Boulder County grading permit application
  includes this area
• FERC review will be initiated by July 2021
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Roadway Construction and Grading Permits
Boulder County Requirements
• Field Initial Review (FIR) documents provided October 16, 2020 with draft Access Permit and
  60% Traffic Control Report
• Recreation traffic needs further review.
   •   Stantec will evaluate further based on 2020 season and early 2021 recreation visits.
   •   Progressive update of traffic around Gross Reservoir to be incorporated in an evolving Traffic Management Plan.

• 1041 Permit Clearance required by Boulder County for design review.
CDOT requirements
• FIR documents have had an unofficial review. Boulder County approval required for formal
  examination.
• Updated Traffic Impact Analysis required.
• Final Office Review (FOR) documents and Boulder County approval of Access Permit
  required to allow construction authorization.
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Schedule

• Develop Access and Support
  Facilities, Initial Tree Clearing,
  Surface Prep of Dam – 2022
• Foundation Excavation and
  Grouting – 2023
• Stilling Basin and Dam Raise –
  2024 thru 2026
• Reservoir Tree Clearing –
  2025-2026
• Dam Bridge, Crest, HPU
  Building, Reclamation,
  Demobilization - 2027
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Future Discussion Topics


• Facilities Planning                                               2/3/21 at 2 p.m.
• Tree Removal and Haul Routes Planning                            2/10/21 at 2 p.m.




                                  Discussion
